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  UNITED STATESDISTRICT COURT
· NORTHERN DISTRICT OF NEW YORK

 •SIDNEY MANES, as Administratorof the
  Estate of Hector Rivas,

                        Plaintiff,
                                                    STIPULATION AND
         -against-                                  PROTECTIVE ORDER

 ONONDAGA COUNTY,WILLIAM                            No. 5:19-cv-00844(BKS/fWD)
 FITZPATRICK, DR. ERIK MITCHELL,and
 "JOHN DOES lMl0",

                        -Defendants.


        WHEREASon January 27, 2023, the Cou1t entered an Order ("the Order'') conceming

records maintained by the New York State Department of Health ("DOH'') concem.
                                                                                                ing
Defendant Dr. En1cMitchell that Plaintiff subpoenaed in this matter and the Court reviewed
                                                                                                in
camera("the records"); and
        WHEREASthe Court found the records relevant and not unduly burdensome for the

DOH to p1'0duce;and

       WHEREASthe Court directed DOH to produce the records subject to a stipulated

protective order;

       NOW, IT IS HEREBY STIPULATED AND ORDERED THAT:

       1.      The records shall be subject to this Stipul!;ltionand Protective Order unless and

until this this Stipulation and Protective Order is modifiedby the Court.

       2.      The records shall be deemed "highly confidential, fot attorney's eyes only." This

shall mean that the l'ecordsmay be viewed only by (a) the parties, (b) the parties' attorneys, (c)

employees a11dstaff ~f the paL1ies'attomeyst and (d) experts retained by the pro.tiesin this case.
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 Additionally. the following people shall be permitted to view the records on behalf
                                                                                       of Defendant
 CountyofOnondaga:           A.\f~ITTR/jDhN
                         MA~l<        'DN£H£/SL{/<.
                                                :YR J
                        .                        I
         3.      The DOH shall produce the records to Plaintiff as directed by the Court's Order

 within twenty (20) days of the issuance of this Stipulation and Protective Order.

         4.      The patties will follow N.D.N.Y. Local Rule 5,3 before filing any of the records

 under seal, if necessary, in the future.




JO UA S. MOSKOVITZ, Esq.
Hamilton Clarke, LLP                                 MARKA. VENTRONE, Esq.
48 Wall Street, S11ite1100                         Onondaga County Department of Law
New York, New York 10007                         • John I-I.Mulroy Civic'Center, 10th Floor
                                                   421 Montgomery Street


 ~,~
                                                   Syracuse, New York 13202
                                                 • Attorneysfor DefendantCountyof Onondaga
SCOTT A. KORENB~
14 Wall Street, Suite 1603
New York, New York 10005.
                                                     BERT i;:.JULIAN, Esq.
                                                    w Office ofRobe1t F. Julian, P.C.
                                                  ~037 Genesee Street
                                                  Utica, New York 13501
ROB RICKNER, Esq.                                 Attorneysfor Defendants WilliamFitzpatrick
RickerPLLC                                        and Dr. Erik Mitchell
14 Wall Street, Suite 1603
New York, New Yotk 10005
Attorneysfor Plaintiff •




                                                        2/10/2023
